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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MISSOURI
                            EASTERN DIVISION

IN RE:                               )
                                     )     Case No. 22-41362
KOBI GILKEY,                         )
                                     )     Chapter 13 Bankruptcy
      Debtor.                        )


                              NOTICE OF HEARING

WARNING: THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT
YOU. IF YOU OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT
THE MOVING PARTY TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING
PARTY CANNOT AGREE, YOU MUST FILE A RESPONSE AND SEND A COPY TO
THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR RESPONSE BY July
14, 2022. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE
GRANTED. IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY
BE GRANTED WITHOUT FURTHER NOTICE TO YOU. IF YOU OPPOSE THE
MOTION AND HAVE NOT REACHED AN AGREEMENT, YOU MUST ATTEND THE
HEARING. THE DATE IS SET OUT ABOVE. UNLESS THE PARTIES AGREE
OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND
MAY DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEYS.

     PLEASE TAKE NOTICE that Debtor’s Motion to Set Aside Order
Granting Trustee’s Objection to Claim #1 filed by MSD is
scheduled to be heard before the Honorable Kathy Surratt-States
at the Thomas F. Eagleton Courthouse, 111 South 10th Street, 7th
Floor, North Courtroom, St. Louis, Missouri 63102, on the 21st
day of July 2022, at 10:00 a.m.

                MOTION TO SET ASIDE ORDER GRANTING
     TRUSTEE’S OBJECTION TO CLAIM #1 BY SANTANDER CONSUMER USA

      COMES NOW Debtor, by and through undersigned counsel, and

for his Motion to Set Aside Order Granting Trustee’s Objection

to Claim #1 by Santander Consumer USA, states to the Court as

follows:

   1. Debtor filed this Chapter 13 Bankruptcy on May 5, 2022.
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   2. Pursuant to Debtor’s First Amended Chapter 13 Plan, Debtor

      intended to surrender his 2020 GMC Terrain to Santander

      Consumer USA.

   3. The Chapter 13 Trustee filed an objection to Proof of Claim

      #1 filed by Santander Consumer USA as Debtor’s plan called

      for the surrender of this automobile.

   4. An order Granting the Trustee’s Objection to Claim #1 was

      entered in Debtor’s case on June 17, 2022, document #17 on

      this Court’s docket.

   5. That Debtor has filed his Second Amended Chapter 13 Plan,

      showing he now intends to keep his 2020 GMC Terrain and pay

      Santander Consumer USA through his plan.

   6. Debtor requests this Court set aside the Order Granting the

      Chapter 13 Trustee’s Objection to Claim #1, so Santander

      Consumer USA may receive payment through his Second Amended

      Chapter 13 Plan.

      WHEREFORE, Debtor prays his Motion to Set Aside Order

Granting Trustee’s Objection to Claim #1 by Santander Consumer

USA be granted, and for what other and further Orders this Court

deems just and appropriate.

                                      /s/ Robert E. Faerber
                                     Robert E. Faerber #46794MO
                                     Attorney for Debtor
                                     230 South Bemiston, Suite 600
                                     Clayton, Missouri 63105
                                     Tel: 314/727-3434
                                     Fax: 314/727-6992
                                     Email: faerber@msn.com
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                           CERTIFICATE OF SERVICE

     I certify that a true and correct copy of this Motion to
Set Aside Order was filed electronically on June 24, 2022 with
the United States Bankruptcy Court, and has been served on the
parties in interest via e-mail by the Court’s CM/ECF System as
listed on the Court’s Electronic Mail Notice List.

Diana S. Daugherty (standing_trustee@ch13stl.com)
Office of U.S. Trustee (USTPRegion13.SL.ECF@USDOJ.gov)

                                      /s/ Robert E. Faerber
